 Case 2:19-cr-00877-CCC Document 287 Filed 03/31/23 Page 1 of 1 PageID: 4073




                                                                     March 31, 2023
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
  District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

        Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move to add David McNamara, the husband of Sandra Ann Crain, as an
additional third-party custodian. The Court previously approved Ms. Crain, Danielle Goettsche and
Victoria Landerman as third-party custodians. U.S. Pretrial Services Officer David Hernandez has
approved Mr. McNamara as a suitable fourth third-party custodian. I have reviewed each of the terms
of the bail conditions with Mr. McNamara. He understands and accepts his responsibilities as a third-
party custodian.

       Pretrial Services has no objection to this proposed request. The government, through AUSA
Jamie Solano, defers to Pretrial Services. Thank you in advance.

                                                           Respectfully submitted,

                                                           /s/

                                                           Rodney Villazor, Esq.
                                                           SMITH VILLAZOR LLP


cc:    Matthew Menchel, Esq.
       Carolina Leung, Esq.
       Government counsel of record (via ECF and e-mail)
       U.S. Pretrial Services Officer David Hernandez (via e-mail)
       U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
